     Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 1 of 14




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                            §
                                                     §
       Plaintiff/Respondent,                         §
                                                     §
v.                                                   §                Cr. No. C-06-380 (6)
                                                     §                C.A. No. C-09-37
CATARINO GUTIERREZ, JR.,                             §
                                                     §
       Defendant/Movant.                             §

                       ORDER DENYING MOTION TO VACATE,
                      SET ASIDE OR CORRECT SENTENCE, AND
                  ORDER DENYING CERTIFICATE OF APPEALABILITY

       Pending before the Court is Movant Catarino Gutierrez, Jr.’s (“Gutierrez”) motion to vacate,

set aside or correct his sentence pursuant to 28 U.S.C. § 2255. (D.E. 345.)1 The government has

filed a response and motion for dismissal. (D.E. 354.) Gutierrez filed a reply (D.E. 356), which the

Court has also considered. For the reasons set forth below, the Court DENIES Gutierrez’s motion.

Additionally, the Court DENIES Gutierrez a Certificate of Appealability.

                                          I. JURISDICTION

       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 2255.

                                  II. FACTS AND PROCEEDINGS

A.      Summary of Offense2

       The charges against Gutierrez stemmed from his participation in the Gutierrez drug

trafficking organization (“DTO”). The DTO engaged in the wide scale distribution of marijuana and




       1
           Dockets entries refer to the criminal case, C-06-cr-380.
       2
          The offense conduct as set forth herein is derived from Paragraphs 4 through 47 of Gutierrez’s
Presentence Investigation Report (“PSR”).
    Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 2 of 14




cocaine from the Rio Grande Valley of Texas to areas north including Tennessee, Arkansas, and

New York, and received drug proceeds from those areas. The offense was committed from a base

of operations situated on a ranch owned by Leonel Martin Gutierrez, who was Gutierrez’s cousin,

and Leonel’s wife. Leonel and his wife owned and operated G Trucking as a cover for the DTO.

The ranch was set up with a metal storage building, behind the main residence, that was used as a

staging area for loading narcotics into vehicles. Several vehicles were located at the ranch as well

as equipment used to compress marijuana into easier to handle bales. The ranch was routinely

guarded by watchers and armed security and was accessible by a main gate which was opened by

remote control.

       According to his PSR, Gutierrez was a money launderer and also recruited individuals for

both Leonel and Rudolpho Gutierrez, who was another organizer/leader and a main narcotics

smuggler and money launderer in the DTO.         The specific seizures or other conduct in which

Gutierrez directly participated included the following:

               1.     Gutierrez loaded a 140-kilogram marijuana shipment that was
               seized on November 26, 2003;

               2.     Gutierrez loaded a 453.6 kilogram load of marijuana that was
               successfully delivered to Memphis in January 2004;

               3.     In June 2004, Gutierrez delivered $35,000 in drug proceeds
               to two couriers in Memphis, who then successfully transported the
               $35,000 to Leonel;

               4.       Gutierrez conducted counter-surveillance while a shipment of
               marijuana consisting of 898 kilograms of marijuana was loaded onto
               a trailer at Leonel’s residence and the load was seized on July 10,
               2004;

               5.       On September 3, 2004, Gutierrez asked a co-conspirator to
               drive a load of marijuana to Indiana, but the co-conspirator could not
               do so on that date. In the month preceding that date, the co-

                                                 2
     Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 3 of 14




               conspirator had driven four to five loads of marijuana for Gutierrez
               and allegedly not been paid. Nonetheless, on the same date,
               Gutierrez asked the co-conspirator to deliver a fuel card and a broken
               seal to the driver of the trailer, which the co-conspirator did; and

               6.      A cooperating co-conspirator testified that Gutierrez assisted
               in loading marijuana and cocaine onto trailers at Leonel’s residence
               at least monthly prior to May 2006, for an unspecified number of
               months.

       Additionally, there were a number of other loads seized from co-conspirators, as well as

other successful loads which were the result of the conspiracy and his co-conspirators actions. (See

generally PSR at ¶¶ 4-47.) Pursuant to the United States’ representations and approximation given

at the rearraignment, Gutierrez was only held responsible at sentencing for 7,733 kilograms of

marijuana. As noted by the PSR, however, the undisputed seizures of marijuana and successfully

delivered marijuana (conservatively estimated) was in the range of 3,000 to 10,000 kilograms of

marijuana, also establishing a base offense level of 34. (PSR, Addendum at 1-2 (responding to

defense objections to the amount of marijuana attributed to Gutierrez as relevant conduct).)

B.     Criminal Proceedings

       On April 11, 2007, Gutierrez was charged in one count of a second superseding indictment

with conspiracy to possess with intent to distribute more than five kilograms of cocaine and more

than 1,000 kilograms of marijuana, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846.

(D.E. 149.) On March 7, 2008, Gutierrez pleaded guilty pursuant to a written plea agreement. (D.E.

264, 265.)

       During the rearraignment, the Court specifically inquired about the relevant conduct in this

case. The following exchange occurred:

               [AUSA] HAMPTON: I believe that this Defendant’s going to be a
               Level 34. There’s going to be less than 10,000 kilograms of

                                                 3
     Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 4 of 14




               marijuana involved in this conspiracy, and less than 50 kilograms of
               cocaine involved in this conspiracy.

               THE COURT: Do you agree with that, Mr. Diaz?

               [DEFENSE COUNSEL] MR. DIAZ: Yes, Your Honor. We don’t
               know anything about cocaine. We do about the marijuana.

               MS. HAMPTON: The cocaine involved, there was cocaine involved
               in this conspiracy, as listed as the dates in the indictment, Your
               Honor. The evidence would show that this Defendant, while he was
               part of the conspiracy, did not help in the loading of the cocaine. He
               was helping with the loading of the marijuana.

               THE COURT: So you’re not going to put on any evidence that he,
               that attributes cocaine to him, just marijuana?

               MS. HAMPTON: That’s correct, Your Honor.

               THE COURT: And how much marijuana again for him?

               MS. HAMPTON: The amount seized was 7,733 kilos. I believe it’s
               going to be less than 10,000 kilograms for this Defendant, which
               would be a Level 34, Your Honor.

               THE COURT: Okay. Do you agree with that, Mr. Diaz?

               MR. DIAZ: I agree with that, Your Honor.

               THE COURT: Do you agree with that, Mr. Gutierrez?

               THE DEFENDANT: Yes, Your Honor.

(D.E. 318, Rearraignment Transcript (“R. Tr.”) at 15-16.)

       Consistent with the above discussion at the rearraignment, the Amended PSR scored

Gutierrez at a base offense level of 34. Gutierrez initially objected both to the PSR’s refusal to grant

him a minor role reduction and to the amount of drugs attributed to him, arguing that he should only

be held responsible for 2,712.5 kilograms. (PSR at ¶ 59.) Specifically, he claimed that one of the

seized loads, consisting of over 5,000 kilograms, was not part of the conspiracy. Because of his

                                                   4
     Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 5 of 14




objection to the amount of drugs, and because he had agreed at his rearraignment to the larger

amount, the PSR did not recommend an adjustment for acceptance of responsibility. This, his total

offense level was determined to be a 34. (PSR at ¶¶ 52-62.)

           Before sentencing, however, Gutierrez indicated that he was withdrawing his objection to

relevant conduct, although still seeking a reduction for his minor role in the offense. (D.E. 282) At

sentencing, Gutierrez’s counsel reiterated this position. (D.E. 319, Sentencing Transcript (“S. Tr.”)

at 6-7.)

           The Court thus heard testimony from the case agent concerning Gutierrez’s role in the

offense. (S. Tr. at 11-19.) The Court ultimately overruled the defense objection. (S. Tr. at 20.) The

Court determined, however, that because Gutierrez had withdrawn his objection to the relevant

conduct, it would follow the recommendation of the United States to award him an adjustment for

acceptance. (S. Tr. at 20.) Accordingly, the Court found that Gutierrez’s advisory guideline range

for a term of imprisonment, based on his offense level of 31 and his criminal history category of III,

was 135 to 168 months. (Id.)

           The Court sentenced Gutierrez to 150 months in the custody of the Bureau of Prisons, to be

followed by a five-year term of supervised release, and imposed a $100 special assessment. (S. Tr.

at 22. The Court explained that it selected the approximate middle of the guideline range because

of Gutierrez’s “equivocation on relevant conduct.” (S. Tr .at 22.) Specifically, the Court stated:

                  Though I accepted your attorney’s recommendation and Ms.
                  Hampton’s to not remove your acceptance of responsibility, you still
                  equivocated and did not, urged your attorney to file a spurious
                  objection after you had already admitted to something under oath at




                                                   5
     Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 6 of 14




                  the time of sentencing (sic) . And then here today you were shaking
                  your head no with various and sundry representations by the
                  Government.

(S. Tr. at 22.)

          Gutierrez appealed. On appeal, he argued that this Court erred in denying him a two-level

minor role adjustment under U.S.S.G. § 3B1.2. (D.E. 349 at 1.) The Fifth Circuit rejected his

argument and confirmed his sentence. (D.E. 349 at 2.)

          Gutierrez’s § 2255 motion was received by the Clerk ion March 2, 2009. (D.E. 345.) It is

timely.

                                 III. MOVANT’S ALLEGATIONS

          In his § 2255 motion, Gutierrez asserts three grounds for relief. First, he argues that he was

denied effective assistance of counsel because his counsel failed to object to the relevant conduct

finding in the PSR at the time of sentencing. (D.E. 345 at 9.) Specifically, he claims that he asked

his counsel to challenge the additional 5,020.5 kilograms but that his counsel told him if he

contested that conduct, “you will not be able to plea bargain, for the Government will no longer

accept any agreed bargain.” He further contends that he was “coached” to only respond “yes” to the

Court’s questions, and not to assert his “innocence” to the attributed relevant conduct. (Id.) In his

reply, Gutierrez claims that counsel “coercively advised” him to abandon his objection, “using as

a whip the (3) point acceptance of responsibility.” (D.E. 356 at 2.)

          Second, Gutierrez argues that the Court erred in finding him responsible for 7,733 kilograms

of marijuana. (D.E. 345 at 10-11.) Again, he claims that a May 6, 2006 load of 5,020.5 kilograms

seized from co-conspirator Jose Gutierrez should not have been attributed to him. He claims that

he “had no knowledge, entered no agreement, neither loaded or unloaded, transported, nor ran


                                                    6
     Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 7 of 14




interference for Jose’s load” and that this “load was outside the Gutierrez trafficking organization,”

(D.E. 356 at 4.) Third , he argues that it was improper for the Court to deny Gutierrez a reduction

for his mitigating role in the offense. (D.E. 345 at 10.)

       The United States argues that Gutierrez’s claims that the Court erred at sentencing are

procedurally barred from consideration. It further contends that, even if they were properly before

the Court, none of this claims entitle him to relief.

       For the reasons set forth herein, the Court concludes that Gutierrez is not entitled to relief

as to any of his claims.

                                         IV. DISCUSSION

A.     28 U.S.C. § 2255

       There are four cognizable grounds upon which a federal prisoner may move to vacate, set

aside or correct his sentence: (1) constitutional issues, (2) challenges to the district court’s

jurisdiction to impose the sentence, (3) challenges to the length of a sentence in excess of the

statutory maximum, and (4) claims that the sentence is otherwise subject to collateral attack. 28

U.S.C. § 2255; United States v. Placente, 81 F.3d 555, 558 (5th Cir. 1996). “Relief under 28 U.S.C.

§ 2255 is reserved for transgressions of constitutional rights and for a narrow range of injuries that

could not have been raised on direct appeal and would, if condoned, result in a complete miscarriage

of justice.” United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992). “[A] collateral challenge

may not do service for an appeal.” United States v. Frady, 456 U.S. 152, 165 (1982).

B.     Procedural Bar

       Where a defendant fails to raise an issue in his criminal proceedings, that issue is

procedurally barred from consideration in § 2255 proceedings. See United States v. Lopez, 248 F.3d


                                                  7
     Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 8 of 14




427, 433 (5th Cir. 2001); United States v. Kallestad, 236 F.3d 225, 227 (5th Cir. 2000). A district

court may consider a defaulted claim only if the petitioner can demonstrate either (1) cause for his

default and actual prejudice; or (2) that he is actually innocent of the crime charged. Bousley v.

United States, 523 U.S. 614, 622 (1998); United States v. Jones, 172 F.3d 381, 384 (5th Cir. 1999).

       Although Gutierrez’s counsel initially objected to the relevant conduct, that objection was

withdrawn at sentencing, with Gutierrez’s consent on the record. (S. Tr. at 10-11.) Additionally,

the issue was never raised on appeal. Accordingly, the claim that the Court erred in determining the

relevant conduct attributable to Gutierrez is procedurally barred from consideration here.

       According to Gutierrez, he was “coercively advised” and “coached” to agree to withdraw

the objection, but he really did not want to. This is insufficient to demonstrate either “cause and

prejudice” or “actual innocence” in order to overcome the procedural bar. In any event, even if the

claim were properly a part of these proceedings, however, it does not entitle him to relief, as

discussed infra at Section IV.D.

       Similarly, Gutierrez’s claim that the Court erred in refusing to grant him a reduction for

playing only a minor role in the offense is also barred from consideration here because this precise

issue was raised and rejected on appeal. (See D.E. 349.) Thus, it cannot be considered here.

United States v. Kalish, 780 F.2d 506, 508 (5th Cir. 1986) (affirming district court’s refusal to

entertain the defendant’s § 2255 motion). Indeed, it has long been “settled in this Circuit that issues

raised and disposed of in a previous appeal from an original judgment of conviction are not

considered in § 2255 Motions.” Kalish, 780 F.2d at 508.

       The only claim properly before the Court is Gutierrez’s claim that counsel was ineffective

for failing to object (or withdrawing the objection) to the relevant conduct. A claim of ineffective


                                                  8
     Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 9 of 14




assistance of counsel is properly made for the first time in a § 2255 motion because it raises an issue

of constitutional magnitude and generally cannot be raised on direct appeal. United States v. Bass,

310 F.3d 321, 325 (5th Cir. 2002); United States v. Pierce, 959 F.2d 1297, 1301 (5th Cir. 1992).

Thus, the Court addresses the merits of Gutierrez’s ineffective assistance claim.

C.     Ineffective Assistance of Counsel

       1.      General Standards

       Gutierrez’s ineffective assistance claim is properly analyzed under the two-prong analysis

set forth in Strickland v. Washington, 466 U.S. 668 (1984). United States v. Willis, 273 F.3d 592,

598 (5th Cir. 2001). To prevail on a claim of ineffective assistance of counsel, a movant must

demonstrate that his counsel’s performance was both deficient and prejudicial. Id. This means that

a movant must show that counsel’s performance was outside the broad range of what is considered

reasonable assistance and that this deficient performance led to an unfair and unreliable conviction

and sentence. United States v. Dovalina, 262 F.3d 472, 474-75 (5th Cir. 2001). To establish

prejudice as a result of alleged errors at sentencing, a § 2255 movant must show that there is a

reasonable probability that, but for counsel’s alleged errors, the sentencing would have been

different. See United States v. Phillips, 210 F.3d 345, 350 (5th Cir. 2000). This requires him to

show a reasonable probability that he would have received a lesser sentence. United States v.

Grammas, 376 F.3d 433, 438-39 (5th Cir. 2004).

       If the movant fails to prove one prong, it is not necessary to analyze the other. Armstead v.

Scott, 37 F.3d 202, 210 (5th Cir. 1994) (“A court need not address both components of the inquiry

if the defendant makes an insufficient showing on one”); Carter v. Johnson, 131 F.3d 452, 463 (5th




                                                  9
    Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 10 of 14




Cir. 1997) (“Failure to prove either deficient performance or actual prejudice is fatal to an

ineffective assistance claim.”).

       2.      Claim That Counsel Erred in Withdrawing Objection to Relevant Conduct

       Gutierrez claims that his counsel was constitutionally ineffective for not objecting to the

amount of drugs attributed to him. As an initial matter, counsel initially objected (at Gutierrez’s

request), but later withdrew the objection. The withdrawal was with Gutierrez’s consent, as

Gutierrez himself told the Court at sentencing. (S. Tr. at 10-11.) Counsel David Diaz explains what

occurred as to this issue. Specifically, he states that he informed Gutierrez that if he denied the

relevant conduct, the Court would conduct a hearing and might not grant him acceptance of

responsibility. (D.E. 354-2 at 3.) Diaz flatly denies that he told defendant during sentencing to only

say “yes.” He states that he pointed out to his client that a number of witnesses were ready to testify

against Gutierrez and that if he continued to deny his relevant conduct he would more than likely

not get a three-level decrease for acceptance of responsibility. (D.E. 354-2 at 3.)

       Counsel’s analysis of the situation was sound and his advice was in no way deficient. As

noted by counsel and as stated by the prosecuting AUSA at sentencing, there were a number of

witnesses available to testify as to Gutierrez’s involvement in various loads moved by the DTO.

Notably, even without the 5,020.5 kilograms Gutierrez now challenges, there were sufficient

amounts of drugs and money involved in the conspiracy to support the Level 34 base offense level.

That is, the level was applicable to amounts of at least 3,000 kilograms but less than 10,000

kilograms of marijuana. Subtracting the 5,020.5 kilograms, there were still 2,712.5 kilograms

seized, an additional 1,317 kilograms not seized, 31 kilograms of cocaine seized, and approximately

$172,320 seized. Even ignoring the cocaine and currency, and relying just on seized and unseized


                                                  10
     Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 11 of 14




loads of marijuana, there were more than 3000 kilograms attributable to Gutierrez as relevant

        conduct without including the 5,020.5 load.

        For all of these reasons, had Gutierrez persisted in his objection to relevant conduct, it is very

likely that, not only would the objection have been overruled, but he would not have received a

three-level adjustment for acceptance of responsibility. Had that happened, his total offense level

would have been 34 instead of 31 and his guideline range would have been significantly higher.

In short, there was no valid basis for challenging the relevant conduct, and counsel was not deficient

for withdrawing the objection. Indeed, in doing so, counsel was able to retain Gutierrez’s 3-level

adjustment for acceptance of responsibility. Thus Gutierrez cannot establish either deficiency or

prejudice as to this claim, and it fails.

D.      Court’s Alleged Errors At Sentencing

        To the extent Gutierrez is making a direct claim that the Court erred at sentencing, as to

either its determination on relevant conduct or its denial of a role adjustment, those claims are barred

from consideration as discussed supra at IV.B. Additionally, to the extent he is challenging the

district court’s application of the guidelines, such a claim is not cognizable here. United States v.

Williamson, 183 F.3d 458, 462 (5th Cir. 1999).

        Moreover, Gutierrez has wholly failed to show any error by the Court. As affirmed by the

Fifth Circuit, there was ample evidence that Gutierrez was not a minimal participant nor a minor

participant in this offense. He acted as a decoy, he conducted surveillance, he loaded a number of

loads of illegal drugs and he recruited several individuals for the DTO. His role was in no way

“minor.” Indeed, the Fifth Circuit has affirmed the denial of a role adjustment where a defendant’s

involvement in the offense was significantly less than Gutierrez’s, holding that neither a defendant’s


                                                   11
    Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 12 of 14




status as a first time offender nor his claims to be a courier require an adjustment for minor

participant status. United States v. Lujan-Sauceda, 187 F.3d 451, 452 (5th Cir. 1999); Buenrostro,

868 F.2d at 137-38. Moreover, Gutierrez was involved (whether via loading, transporting money

or acting as surveillance or a decoy) in a far greater number of loads than many of his co-

conspirators. Under these facts, Gutierrez simply did not qualify for a minor role reduction. Cf.

Lujan-Sauceda, 187 F.3d at 452; U.S.S.G. § 3B, appl. n. 5 (a minor participant is one “who is less

culpable than most other participants, but whose role could not be described as minimal”). Thus,

the Court did not err in its denial of a role adjustment.

       Similarly, the relevant conduct found by the Court was amply supported by the record in the

case, in addition to Gutierrez’s admissions at his rearraignment. The district court has broad

discretion in considering the reliability of submitted information regarding the quantity of drugs

involved in an offense. United States v. Huskey, 137 F.3d 283, 291 (5th Cir. 1998). The defendant

bears the burden of showing that the information relied upon by the district court is materially

untrue. United States v. Cooper, 274 F.3d 230, 240 (5th Cir. 2001). “In making [a finding regarding

drug quantities], the district judge may consider any information that has ‘sufficient indicia of

reliability to support its probable accuracy,’ including a probation officer’s testimony, a policeman’s

approximation of uncovered drugs, and even hearsay.” Huskey, 137 F.3d at 291; see also United

States v. Ramirez, 271 F.3d 611, 612 (5th Cir. 2001); United States v. Cuellar-Flores, 891 F.2d 92,

93 (5th Cir. 1989).

       In this case, Gutierrez’s own admissions at the rearraignment established the amount of

drugs. Also, the amount of drugs as found by the Court as relevant conduct was buttressed by the

statements of numerous co-conspirators, as well as actual amounts seized as part of the conspiracy.


                                                  12
     Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 13 of 14




For these reasons and for the reasons set forth in the preceding section, Gutierrez has not shown that

the Court erred in imposing a Level 34 base offense level.

        For the foregoing reasons, Gutierrez’s claims do not entitle him to relief. Accordingly, his

motion pursuant to 28 U.S.C. § 2255 is DENIED.

E.      Certificate of Appealability

        An appeal may not be taken to the court of appeals from a final order in a habeas corpus

proceeding “unless a circuit justice or judge issues a certificate of appealability.” 28 U.S.C.

§ 2253(c)(1)(A). Although Gutierrez has not yet filed a notice of appeal, this Court nonetheless

addresses whether he would be entitled to a COA. See Alexander v. Johnson, 211 F.3d 895, 898

(5th Cir. 2000) (a district court may sua sponte rule on a COA because “the district court that denies

a petitioner relief is in the best position to determine whether the petitioner has made a substantial

showing of a denial of a constitutional right on the issues before that court. Further briefing and

argument on the very issues the court has just ruled on would be repetitious.”).3

        A COA “may issue...only if the applicant has made a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2). “The COA determination under § 2253(c) requires

an overview of the claims in the habeas petition and a general assessment of their merits.” Miller-El

v. Cockrell, 537 U.S. 322, 336 (2003). To warrant a grant of the certificate as to claims denied on

their merits, “[t]he petitioner must demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484

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          As of December 1, 2009, absent contrary Congressional action, amended Rule 11(a) of the RULES
GOVERNING SECTION 2255 PROCEEDINGS FOR THE UNITED STATES DISTRICT COURTS will become effective.
This rule will require a district court to issue or deny a COA at the time the court enters a final order adverse
to the movant. Although amended Rule 11(a) is not yet effective, the practice it requires is a sound one that
the Court employs now. Nothing in the current version of the § 2255 rules prohibits the Court from
addressing a COA prior to a notice of appeal being filed.

                                                       13
    Case 2:06-cr-00380 Document 357 Filed on 07/01/09 in TXSD Page 14 of 14




(2000). This standard requires a § 2255 movant to demonstrate that reasonable jurists could debate

whether the motion should have been resolved differently, or that the issues presented deserved

encouragement to proceed further. United States v. Jones, 287 F.3d 325, 329 (5th Cir. 2002)

(relying upon Slack, 529 U.S. at 483-84).

       The Court concludes that reasonable jurists could not debate the denial of Gutierrez’s § 2255

motion on substantive grounds nor find that the issues presented are adequate to deserve

encouragement to proceed. Miller-El, 537 U.S. at 327 (citing Slack, 529 U.S. at 484). Accordingly,

Gutierrez is not entitled to a COA as to his claims.

                                       V. CONCLUSION

       For the aforementioned reasons, Gutierrez’s motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. § 2255 (D.E. 345) is DENIED. Additionally, Gutierrez is DENIED a

Certificate of Appealability.



       It is so ORDERED this 1st day of July, 2009.



                                              ____________________________________
                                                           Janis Graham Jack
                                                       United States District Judge




                                                14
